Case 3:19-cv-00054-NKM-JCH Document 368-1 Filed 04/20/22 Page 1 of 44 Pageid#:
                                   4874




                            EXHIBIT A
                                     to
                     PLAINTIFF’S OPPOSITION TO
   THE UVA DEFENDANTS’ MOTION FOR PROTECTIVE ORDER
Case 3:19-cv-00054-NKM-JCH Document 368-1 Filed 04/20/22 Page 2 of 44 Pageid#:
                                   4875



                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF VIRGINIA
                               Charlottesville Division
 KIERAN RAVI BHATTACHARYA,             )
                                       )
           Plaintiff,                  )
                                       )
 v.                                    ) Civil Action No. 3:19-CV-54-NKM-JCH
                                       )
                                       )
 JAMES B. MURRAY, JR., et al.,         )
                                       )
           Defendants.                 )
                                       )

                 DEFENDANTS’ RESPONSES AND OBJECTIONS
        TO PLAINTIFF’S REQUESTS FOR ADMISSION NOS. 134 THROUGH 196

        Defendants (except for Defendant Dr. Sara Rasmussen), by counsel, in their official

 capacities as officers or employees of the University of Virginia, and pursuant to Rules 26 and 36

 of the Federal Rules of Civil Procedure, state the following Responses and Objections to Plaintiff’s

 Requests for Admission Nos. 134 through 196. In their individual capacities, John Densmore,

 Nora Kern, and Christine Peterson do not possess knowledge or information sufficient to respond

 to these discovery requests except to the extent identified herein.

             SPECIFIC OBJECTIONS TO DEFINITIONS AND INSTRUCTIONS

        1.      Defendants object to Definition Nos. 4, 5, and 6 (“Identify”) as the seek to impose

 obligations not required by the Federal Rules of Civil Procedure.

        2.      Defendants object to Definition Nos. 8 and 36 (“You” or “Your”) and Definition

 No. 28 (“Defendants”) to the extent that they reference “Individual Co-Conspirators” as such

 references are inconsistent with the Court’s ruling regarding Plaintiff’s motion to amend his

 complaint. See ECF No. 324. The Court expressly ruled that Plaintiff may not add a claim of civil

 conspiracy to the Second Amended Complaint. Id.



                                                  1
Case 3:19-cv-00054-NKM-JCH Document 368-1 Filed 04/20/22 Page 3 of 44 Pageid#:
                                   4876



        3.      Defendants object to Definition Nos. 10 (“Rector”) and 11 (“Vice Rector”) as they

 are inconsistent with Plaintiff’s Second Amended Complaint and the current members of the Board

 of Visitors. Defendants will interpret any reference to the Rector as being to the current Rector of

 the Board of Visitors of the University of Virginia, which is Whittington W. Clement. Defendants

 will interpret any reference to the Vice Rector as being to the current Vice Rector of the Board of

 Visitors of the University of Virginia, which is Robert Hardie.

        4.      Defendants object to Definition No. 13 (“Members of the Board of Visitors of the

 University of Virginia”) as the listing found in Plaintiff’s Definition is inaccurate and does not

 delineate the current members of the Board of Visitors. Defendants will interpret any reference to

 the Members of the Board of Visitors of the University of Virginia as referring to the accurate and

 up-to-date listing of the members.

        5.      Defendants object to Definition No. 23 (“Professor Rasmussen”) to the extent it

 implies that Dr. Rasmussen is still a professor at the University of Virginia School of Medicine.

        6.      Defendants object to Definition No. 24 (“Individual Co-Conspirators”) as any

 reference to any of the Defendants as a “Co-Conspirator” is inappropriate and inconsistent with

 the Court’s ruling regarding Plaintiff’s motion to amend his complaint. See ECF No. 324. The

 Court expressly ruled that Plaintiff may not add a claim of civil conspiracy to the Second Amended

 Complaint. Id.

        7.      Defendants object to Definitions No. 32 and 33 (“First Professionalism Concern

 Card” and “Second Professionalism Concern Card” respectively) to the extent they reference the

 First Amended Complaint. The Second Amended Complaint is the operative complaint and

 Defendants will interpret any reference to the Concern Cards to mean Exhibits 10 and 13 to the

 Second Amended Complaint.



                                                  2
Case 3:19-cv-00054-NKM-JCH Document 368-1 Filed 04/20/22 Page 4 of 44 Pageid#:
                                   4877



        8.      Defendants object to Instruction Nos. 4, 5, and 6 as they seek to impose obligations

 not required by the Federal Rules of Civil Procedure.

        9.      Defendants object to Plaintiff’s definitions and instructions to the extent Plaintiff

 seeks to impose upon the Defendants obligations in addition to or different from those required by

 the Federal Rules of Civil Procedure and/or the Local Rules of this Court.

        10.     Defendants object to Plaintiff’s definitions and instructions to the extent that

 Plaintiff seeks information protected by the attorney-client privilege, the work-product doctrine,

 or any other applicable privilege, immunity, or form of protection.

        11.     Defendants reserve the right to alter or amend these responses as new or different

 information is obtained during the discovery process, as discovery is ongoing.

        12.     Defendants incorporate, by reference, all objections made in their Motion for

 Protective Order and corresponding Memorandum in Support (ECF No. 344) (hereinafter

 “Defendants’ Motion for Protective Order”) submitted to the Court on April 5, 2022 for filing

 under seal.


                                 REQUESTS FOR ADMISSION

 RFA No. 134:

        Mr. Bhattacharya spoke with Tabitha Enoch by phone on November 18, 2018.

        RESPONSE TO RFA NO. 134: Per Plaintiff’s Revised Fourth Discovery Requests,

 transmitted via email on April 11, 2022, Defendants understand that this Request for Admission

 is withdrawn. As such, Defendants will not be providing a response to this Request for Admission.

 This shall not constitute an admission under Rule 36(a)(3).




                                                  3
Case 3:19-cv-00054-NKM-JCH Document 368-1 Filed 04/20/22 Page 5 of 44 Pageid#:
                                   4878




 RFA No. 135:

        Tabitha Enoch sent an email to Mr. Bhattacharya after they spoke with each other by phone

 on November 18, 2018.

        RESPONSE TO RFA NO. 135: After making reasonable inquiry, the information that

 Defendants know or can readily obtain is insufficient to enable them to admit or deny this Request.




 RFA No. 136:

        Roxanne Bhattacharya was not permitted to be in the Claude Moore Health Sciences

 Library on November 18, 2018.

        RESPONSE TO RFA NO. 136: Per Plaintiff’s Revised Fourth Discovery Requests,

 transmitted via email on April 11, 2022, Defendants understand that this Request for Admission

 is withdrawn. As such, Defendants will not be providing a response to this Request for Admission.

 This shall not constitute an admission under Rule 36(a)(3).



 RFA No. 137:

        Roxanne Bhattacharya was not permitted to be in the Jefferson Medical Office Building

 on November 18, 2018.

        RESPONSE TO RFA NO. 137: Per Plaintiff’s Revised Fourth Discovery Requests,

 transmitted via email on April 11, 2022, Defendants understand that this Request for Admission

 is withdrawn. As such, Defendants will not be providing a response to this Request for Admission.

 This shall not constitute an admission under Rule 36(a)(3).



                                                 4
Case 3:19-cv-00054-NKM-JCH Document 368-1 Filed 04/20/22 Page 6 of 44 Pageid#:
                                   4879




 RFA No. 138:

        Roxanne Bhattacharya was not permitted to be inside the residence of 820B Cabell Avenue

 on November 18, 2018.

        RESPONSE TO RFA NO. 138: Per Plaintiff’s Revised Fourth Discovery Requests,

 transmitted via email on April 11, 2022, Defendants understand that this Request for Admission

 is withdrawn. As such, Defendants will not be providing a response to this Request for Admission.

 This shall not constitute an admission under Rule 36(a)(3).



 RFA No. 139:

        Angel Hsu allowed Roxanne Bhattacharya to be inside the Claude Moore Health Sciences

 Library on November 18, 2018.

        RESPONSE TO RFA NO. 139: After making reasonable inquiry, the information that

 Defendants know or can readily obtain is insufficient to enable them to admit or deny this Request.



 RFA No. 140:

        Nora Kern and Sara Rasmussen communicated with each other in person about Mr.

 Bhattacharya at the end of the AMWA Microaggression Panel Discussion on October 25, 2018.

        RESPONSE TO RFA NO. 140: Dr. Nora Kern admits that she recalls briefly speaking

 to Dr. Sara Rasmussen about Plaintiff while she and Dr. Sara Rasmussen were leaving the AMWA

 Microaggression Panel Discussion on October 25, 2018. To the extent any further response is

 required, Defendants deny this Request in all other respects.




                                                 5
Case 3:19-cv-00054-NKM-JCH Document 368-1 Filed 04/20/22 Page 7 of 44 Pageid#:
                                   4880



 RFA No. 141:

        Lindsay Nicole Carlson stated in Mr. Bhattacharya’s medical records that he was to be

 tranquilized on November 14, 2018 for refusing bloodwork and urine samples while under ECO.

 (Bates No. UVA HS00003796, UVA HS00003810-11)

        RESPONSE TO RFA NO. 141: Per Plaintiff’s Revised Fourth Discovery Requests,

 transmitted via email on April 11, 2022, Defendants understand that this Request for Admission

 is withdrawn. As such, Defendants will not be providing a response to this Request for Admission.

 This shall not constitute an admission under Rule 36(a)(3).



 RFA No. 142:

        Patrick Stafford stated in Mr. Bhattacharya’s medical records between 16:17 and 16:40 pm

 November 19, 2018 that Mr. Bhattacharya was to be tranquilized on November 19, 2018 for

 refusing bloodwork and urine samples while under ECO. (Bates No. UVA HS00003707)

        RESPONSE TO RFA NO. 142: Per Plaintiff’s Revised Fourth Discovery Requests,

 transmitted via email on April 11, 2022, Defendants understand that this Request for Admission

 is withdrawn. As such, Defendants will not be providing a response to this Request for Admission.

 This shall not constitute an admission under Rule 36(a)(3).



 RFA No. 143:

        Guidelines from the Virginia Department of Behavioral Health state: “Patients who have

 capacity to make informed decisions and do not consent to collection of a urine or blood specimen

 will not be forced, including under an emergency custody order (ECO).”                       See




                                                 6
Case 3:19-cv-00054-NKM-JCH Document 368-1 Filed 04/20/22 Page 8 of 44 Pageid#:
                                   4881



 https://dbhds.virginia.gov/assets/doc/about/masg/adults-medical-and-screening-guidelines-11-5-

 2018.pdf.

        RESPONSE TO RFA NO. 143: Per Plaintiff’s Revised Fourth Discovery Requests,

 transmitted via email on April 11, 2022, Defendants understand that this Request for Admission

 is withdrawn. As such, Defendants will not be providing a response to this Request for Admission.

 This shall not constitute an admission under Rule 36(a)(3).




 RFA No. 144:

        At the time Mr. Bhattacharya was tranquilized on November 14, 2018, he had the capacity

 to make informed decisions.

        OBJECTION TO RFA NO. 144: Defendants object as this Request calls for a medical

 determination and is not relevant to any claims or defenses to the sole surviving First Amendment

 retaliation claim in this case. This Request is outside the scope of permissible discovery under

 Rule 26(b)(1).

        RESPONSE TO RFA NO. 144: Subject to and without waiving the foregoing objections,

 and for all the reasons stated in Defendants’ Motion for Protective Order (ECF No. 344),

 Defendants state that after making reasonable inquiry, the information that they know or can

 readily obtain is insufficient to enable them to admit or deny this Request.



 RFA No. 145:

        At the time Mr. Bhattacharya was tranquilized on November 19, 2018, he had the capacity

 to make informed decisions.



                                                  7
Case 3:19-cv-00054-NKM-JCH Document 368-1 Filed 04/20/22 Page 9 of 44 Pageid#:
                                   4882



        OBJECTION TO RFA NO. 145: Defendants object as this Request calls for a medical

 determination and is not relevant to any claims or defenses to the sole surviving First Amendment

 retaliation claim in this case. This Request is outside the scope of permissible discovery under

 Rule 26(b)(1).

        RESPONSE TO RFA NO. 145: Subject to and without waiving the foregoing objections,

 and for all the reasons stated in Defendants’ Motion for Protective Order (ECF No. 344),

 Defendants state that after making reasonable inquiry, the information that they know or can

 readily obtain is insufficient to enable them to admit or deny this Request.



 RFA No. 146:

        During the course of Mr. Bhattacharya involuntary hospitalization on November 14, 2018,

 no one alleged in Mr. Bhattacharya’s medical records that he lacked the capacity to make informed

 decisions before he was tranquilized on November 14, 2018.

        OBJECTION TO RFA NO. 146: Defendants object to this Request as posing an undue

 burden on Defendants to sift through all of Plaintiff’s copious medical records to search for a

 notation from a care provider that Plaintiff “lacked the capacity to make informed decisions.”

 Plaintiff is free to sift through his own medical records to ascertain the answer to this Request.

        RESPONSE TO RFA NO. 146: Subject to and without waiving the foregoing objections,

 and for all the reasons stated in Defendants’ Motion for Protective Order (ECF No. 344),

 Defendants state that Plaintiff’s medical records speak for themselves.




                                                   8
Case 3:19-cv-00054-NKM-JCH Document 368-1 Filed 04/20/22 Page 10 of 44 Pageid#:
                                    4883



 RFA No. 147:

        During the course of Mr. Bhattacharya involuntary hospitalization on November 19, 2018,

 no one alleged in Mr. Bhattacharya’s medical records that he lacked the capacity to make informed

 decisions before he was tranquilized on November 19, 2018.

        OBJECTION TO RFA NO. 147: Defendants object to this Request as posing an undue

 burden on Defendants to sift through all of Plaintiff’s copious medical records to search for a

 notation from a care provider that Plaintiff “lacked the capacity to make informed decisions.”

 Plaintiff is free to sift through his own medical records to ascertain the answer to this Request.

        RESPONSE TO RFA NO. 147: Defendants respond that Plaintiff’s medical records

 speak for themselves. Defendants also reserve the right to supplement this response based on Dr.

 Patrick Stafford’s deposition transcript as Dr. Stafford’s testimony is relevant to this Request for

 Admission.



 RFA No. 148:

        Angel Hsu did not move out of 820B Cabell Avenue on November 19, 2018.

        OBJECTION TO RFA NO. 148: Defendants object to this Request as a misuse of the

 tools of discovery as Plaintiff seeks to elicit admissions about facts that are obviously beyond the

 scope of Defendants’ knowledge. For the reasons stated more fully in Defendants’ Motion for a

 Protective Order (ECF No. 344), which are hereby incorporated by reference into these objections,

 Defendants could not possibly be expected to know whether or exactly when Angel Hsu moved

 out of the specified off-campus residence.




                                                   9
Case 3:19-cv-00054-NKM-JCH Document 368-1 Filed 04/20/22 Page 11 of 44 Pageid#:
                                    4884



         RESPONSE TO RFA NO. 148: Subject to and without waiving the foregoing objections,

 Defendants state that after making reasonable inquiry, the information that they know or can

 readily obtain is insufficient to enable them to admit or deny this Request.



 RFA No. 149:

         Christine Peterson did not know the location of Angel Hsu’s residence before noon on

 November 19, 2018.

         OBJECTION TO RFA NO. 149: Defendants object to this request on the grounds that

 it is not relevant not relevant to any party’s claim or defense. Plaintiff’s sole remaining claim is

 one of First Amendment Retaliation. Whether Dr. Peterson knew where Angel Hsu lived before

 noon on the specified date (as opposed to 11:00 p.m. that morning, or 1:00 p.m. that afternoon)

 has no probative value with respect to any fact that is actually of consequence to the determination

 of any claim or defense in this action.

         RESPONSE TO RFA NO. 149: Subject to and without waiving the foregoing objections,

 admitted.



 RFA No. 150:

         Angel Hsu falsely represented in her November 26, 2018 ex parte preliminary protective

 order petition that she had not previously filed for an emergency protective order on November 23,

 2018.

         OBJECTION TO RFA NO. 150: Defendants object that this Request seeks irrelevant

 information, as Dr. Hsu is not a party to this action. Whether Dr. Hsu accurately stated any fact in

 a petition for a preliminary protective order is of no probative value with respect to any fact of



                                                 10
Case 3:19-cv-00054-NKM-JCH Document 368-1 Filed 04/20/22 Page 12 of 44 Pageid#:
                                    4885



 consequence to the determination of any claim or defense that is actually part of this action, and is

 thus beyond the scope of discovery permitted by Fed. R. Civ. P. 26(b)(1). This Request instead

 appears on its face to be little more than an extension of Plaintiff’s obsessive campaign to punish

 and harass his ex-girlfriend for perceived slights. Defendants object to this Request as a misuse

 of the tools of discovery as Plaintiff seeks to elicit admissions about facts that are obviously beyond

 the scope of Defendants’ knowledge.

        RESPONSE TO RFA NO. 150: Defendants stand on their objections and will not

 participate in Plaintiff’s continued attempts to use this litigation as a vehicle to punish his ex-

 girlfriend. In any event, the document speaks for itself.



 RFA No. 151:

        Mr. Bhattacharya has never reported to anyone orally or in writing that he is or was

 experiencing auditory hallucinations.

        OBJECTION TO RFA NO. 151: Defendants object to this Request as a misuse of the

 tools of discovery as Plaintiff seeks to elicit admissions about facts that are obviously beyond the

 scope of Defendants’ knowledge. For the reasons stated more fully in Defendants’ Motion for a

 Protective Order (ECF No. 344), which are hereby incorporated by reference into these objections,

 Defendants could not possibly be expected to know whether Plaintiff reported to anyone at any

 time in his life about experiencing auditory hallucinations. In addition, Defendants object to this

 Request as impermissibly compound.

        RESPONSE TO RFA NO. 151: Subject to and without waiving the foregoing objections,

 Defendants deny this Request.




                                                   11
Case 3:19-cv-00054-NKM-JCH Document 368-1 Filed 04/20/22 Page 13 of 44 Pageid#:
                                    4886




 RFA No. 152:

         Mr. Bhattacharya did not leave candles unattended at his residence in October or November

 2018.

         OBJECTION TO RFA NO. 152: Defendants object to this Request as a misuse of the

 tools of discovery as Plaintiff seeks to elicit admissions about facts that are obviously beyond the

 scope of Defendants’ knowledge. For the reasons stated more fully in Defendants’ Motion for a

 Protective Order (ECF No. 344), which are hereby incorporated by reference into these objections,

 Defendants could not possibly be expected to know whether Plaintiff left candles unattended at his

 private residence.

         RESPONSE TO RFA NO. 152: Subject to and without waiving the foregoing objections,

 Defendants state that after making reasonable inquiry, the information that they know or can

 readily obtain is insufficient to enable them to admit or deny this Request.



 RFA No. 153:

         Mr. Bhattacharya did not undergo required psychological or psychiatric treatment of any

 kind while at the University of Alabama.

         OBJECTION TO RFA NO. 153: Defendants object to this Request as a misuse of the

 tools of discovery as Plaintiff seeks to elicit admissions about facts that are obviously beyond the

 scope of Defendants’ knowledge. Defendants are officials of the University of Virginia and not

 the University of Alabama. This Request is obviously outside of the scope of their knowledge.

         RESPONSE TO RFA NO. 153: Subject to and without waiving the foregoing objections,

 and for all the reasons stated in Defendants’ Motion for Protective Order (ECF No. 344),



                                                 12
Case 3:19-cv-00054-NKM-JCH Document 368-1 Filed 04/20/22 Page 14 of 44 Pageid#:
                                    4887



 Defendants state that after making reasonable inquiry, the information that they know or can

 readily obtain is insufficient to enable them to admit or deny this Request.



 RFA No. 154:

        Mr. Bhattacharya did not frisk or attempt to frisk any roommates or any individual at UVA

 during any point in his enrollment.

        OBJECTION TO RFA NO. 154: Defendants object to this Request as a misuse of the

 tools of discovery as Plaintiff seeks to elicit admissions about facts that are obviously beyond the

 scope of Defendants’ knowledge. For the reasons stated more fully in Defendants’ Motion for a

 Protective Order (ECF No. 344), which are hereby incorporated by reference into these objections,

 Defendants could not possibly be expected to know whether Plaintiff frisked or attempted to frisk

 any person anywhere at the University of Virginia at any time during his enrollment.

        RESPONSE TO RFA NO. 154: Subject to and without waiving the foregoing objections,

 Defendants state that after making reasonable inquiry, the information that they know or can

 readily obtain is insufficient to enable them to admit or deny this Request.



 RFA No. 155:

        Mr. Bhattacharya did not leave the stove at his residence on or use it at all during the period

 November 16-19, 2018.

        OBJECTION TO RFA NO. 155: Defendants object to this Request as a misuse of the

 tools of discovery as Plaintiff seeks to elicit admissions about facts that are obviously beyond the

 scope of Defendants’ knowledge. For the reasons stated more fully in Defendants’ Motion for a

 Protective Order (ECF No. 344), which are hereby incorporated by reference into these objections,



                                                  13
Case 3:19-cv-00054-NKM-JCH Document 368-1 Filed 04/20/22 Page 15 of 44 Pageid#:
                                    4888



 Defendants could not possibly be expected to know whether Plaintiff had left a stove on at his

 residence.

        RESPONSE TO RFA NO. 155: Subject to and without waiving the foregoing objections,

 Defendants state that after making reasonable inquiry, the information that they know or can

 readily obtain is insufficient to enable them to admit or deny this Request.



 RFA No. 156:

        Mr. Bhattacharya was in good academic standing at all points during his enrollment at

 UVA Med School before 5:00 pm on November 28, 2018.

        OBJECTION TO RFA NO. 156: Defendants object that the undefined phrase “good

 academic standing” is vague and ambiguous. Defendants interpret “good academic standing” to

 be defined as the Medical School defines the term as found in the Policy on Academic and

 Professional Advancement. It provides that a student is in good academic standing if the student

 makes satisfactory progress, defined as progressing at a pace of completion allowing the student

 to meet academic requirements to achieve the Doctor of Medicine degree within a six-year limit

 (150% of the program length) set from matriculation.

        RESPONSE TO RFA NO. 156: Admitted.



 RFA No. 157:

        At no point during Mr. Bhattacharya’s enrollment at UVA Med School before November

 28, 2018 did any agent or employee of UVA inform Mr. Bhattacharya that he was not in good

 academic standing.




                                                 14
Case 3:19-cv-00054-NKM-JCH Document 368-1 Filed 04/20/22 Page 16 of 44 Pageid#:
                                    4889



        OBJECTION TO RFA NO. 155: Defendants object that the undefined phrase “good

 academic standing” is vague and ambiguous. Defendants interpret “good academic standing” to

 be defined as the Medical School defines the term as found in the Policy on Academic and

 Professional Advancement. It provides that a student is in good academic standing if the student

 makes satisfactory progress, defined as progressing at a pace of completion allowing the student

 to meet academic requirements to achieve the Doctor of Medicine degree within a six-year limit

 (150% of the program length) set from matriculation. Defendants further object to this RFA as it

 asks Defendants to admit to a compound statement.

        RESPONSE TO RFA NO. 155: Admitted.



 RFA No. 158:

        Dr. Tucker understood that Dean Canterbury had required that Mr. Bhattacharya be

 evaluated by CAPS.

        RESPONSE TO RFA NO. 158: Per Plaintiff’s Revised Fourth Discovery Requests,

 transmitted via email on April 11, 2022, Defendants understand that this Request for Admission

 is withdrawn. As such, Defendants will not be providing a response to this Request for Admission.

 This shall not constitute an admission under Rule 36(a)(3).



 RFA No. 159:

        Dr. Tucker understood that there is a fundamental difference between recommending and

 requiring that one be evaluated by CAPS on November 28, 2018.

        OBJECTION TO RFA NO. 159: Defendants object that this Request seeks information

 that is irrelevant to any fact of consequence to the determination of any claim or defense in this



                                                15
Case 3:19-cv-00054-NKM-JCH Document 368-1 Filed 04/20/22 Page 17 of 44 Pageid#:
                                    4890



 litigation. Whether Dr. Tucker subjectively understood the difference between “recommending”

 and “requiring” a particular course of action is irrelevant to any claim or defense in this action.

        RESPONSE TO RFA NO. 159: Subject to and without waiving the foregoing objections,

 Defendants admit that Dr. Tucker knows the definitions of the words “recommend” and “require,”

 but state affirmatively that it had no bearing on Defendants’ decision to suspend Plaintiff from

 Medical School. The University of Virginia School of Medicine’s Time and Attendance Policy

 states: “If a student misses more than two consecutive days due to illness, they must notify their

 college dean and the Office of Student Affairs (som-studentaffairs@virginia.edu) as well as obtain

 medical evaluation from the Department of Student Health or other licensed healthcare provider.

 . . . Clearance from Student Health is required before the student can resume educational

 activities.” See UVA00009394. Plaintiff was suffering from a mental illness, and Counseling and

 Psychological Services is the appropriate unit within Student Health to clear Plaintiff so that he

 may resume educational activities. To the extent further response is required, Defendants deny

 this Request for Admission in all other respects.



 RFA No. 160:

        Dean Canterbury’s statement to Jim Tucker that “[John Densmore] has to have [Mr.

 Bhattacharya] taken from [John Densmore’s] office by police a week ago” was false. (Bates No.

 UVA00002635.)

        OBJECTION TO RFA NO. 160: Defendants object to this Request as it is vague.

 Plaintiff is taking Dean Canterbury’s statement out of context.

        RESPONSE TO RFA NO. 160: Subject to and without waiving the foregoing objections,

 Defendants admit that Dean Densmore did not have to have Plaintiff taken from his office by



                                                  16
Case 3:19-cv-00054-NKM-JCH Document 368-1 Filed 04/20/22 Page 18 of 44 Pageid#:
                                    4891



 police during the referenced encounter; rather, police detained Plaintiff in the library after learning

 that Plaintiff’s own mother’s had petitioned for an Emergency Custody Order, which was granted.

 To the extent any further response is required to this Request and its attempt to take Dr.

 Canterbury’s statement out of context, however, Defendants deny this Request for Admission in

 all other respects.



 RFA No. 161:

         Tabitha Enoch’s November 30, 2018 statement to Angel Hsu that Mr. Bhattacharya’s

 suspension “had nothing to do with [Angel Hsu]” was false. (Bates No. UVA00002777.)

         OBJECTION TO RFA NO. 161: Defendants object to this Request as it takes statements

 out of context. The document speaks for itself.

         RESPONSE TO RFA NO. 161: Defendants deny that Ms. Enoch’s statement was false

 because Plaintiff has taken her statement out of context. Ms. Enoch was not present at the ASAC

 meeting and was not privy to whatever information it considered while deliberating about Mr.

 Bhattacharya’s suspension; rather, she was responding to and consoling a distraught student. In

 further response, Defendants state that the ASAC did not necessarily consider information that

 Angel Hsu shared directly with Tabitha Enoch; rather, the ASAC considered the Preliminary

 Protective Order that Angel Hsu had obtained against Plaintiff during its November 28, 2018

 hearing as well as other information that Angel Hsu may have shared with people other than

 Tabitha Enoch. To the extent any further response is required to this Request and its attempt to

 take Ms. Enoch’s statement out of context, however, Defendants deny this Request for Admission

 in all other respects.




                                                   17
Case 3:19-cv-00054-NKM-JCH Document 368-1 Filed 04/20/22 Page 19 of 44 Pageid#:
                                    4892




 RFA No. 162:

         Tabitha Enoch’s November 30, 2018 statement to Angel Hsu that “ASAC didn’t have

 access to any information [Angel Hsu] shared with [Tabitha Enoch]” was false. (Bates No.

 UVA00002777.)

         OBJECTION TO RFA NO. 162: Defendants object to this Request as it takes statements

 out of context. The document speaks for itself.

         RESPONSE TO RFA NO. 162: Defendants deny that Ms. Enoch’s statement was false

 because Plaintiff has taken her statement out of context. Ms. Enoch was not present at the ASAC

 meeting and was not privy to whatever information it considered while deliberating about Mr.

 Bhattacharya’s suspension; rather, she was responding to and consoling a distraught student. In

 further response, Defendants state that the ASAC did not necessarily consider information that

 Angel Hsu shared directly with Tabitha Enoch; rather, the ASAC considered the Preliminary

 Protective Order that Angel Hsu had obtained against Plaintiff during its November 28, 2018

 hearing as well as other information that Angel Hsu may have shared with people other than

 Tabitha Enoch. To the extent any further response is required to this Request and its attempt to

 take Ms. Enoch’s statement out of context, however, Defendants deny this Request for Admission

 in all other respects.



 RFA No. 163:

         It was well within Mr. Bhattacharya’s right to tell Roxanne Bhattacharya to stop contacting

 him on November 16, 2018; November 17, 2018; November 18, 2018; and November 19, 2018.

 (Bates No. UVA00002777.)



                                                   18
Case 3:19-cv-00054-NKM-JCH Document 368-1 Filed 04/20/22 Page 20 of 44 Pageid#:
                                    4893



        OBJECTION TO RFA NO. 163: Defendants object that this Request seeks irrelevant

 information outside the scope of discovery permitted by Fed. R. Civ. P. 26(b)(1), as whatever right

 Mr. Bhattacharya may have had to demand that his mother stop contacting him has no probative

 value with respect to any claim or defense asserted in this action. Defendants also object to this

 request on the grounds that it is vague and ambiguous, as it is unclear what Plaintiff means by

 “well within [his] right.” To the extent that the Request asks Defendants to admit or deny a legal

 conclusion, especially one irrelevant to the claims and defenses in this case, they decline to do so.

 Defendants further object on the grounds that the document referenced does not support or

 reference the statement Plaintiff would like Defendants to admit.

        RESPONSE TO RFA NO. 163: Subject to and without waiving the foregoing objections,

 Defendants state that after making reasonable inquiry, the information that they know or can

 readily obtain is insufficient to enable them to admit or deny this Request.



 RFA No. 164:

        It was well within Mr. Bhattacharya’s right to tell Angel Hsu to stop contacting him on

 November 17, 2018 and November 19, 2018. (Bates No. UVA00002777.)

        OBJECTION TO RFA NO. 164: Defendants object that this Request seeks irrelevant

 information outside the scope of discovery permitted by Fed. R. Civ. P. 26(b)(1), as whatever right

 Mr. Bhattacharya may have had to demand that his ex-girlfriend stop contacting him has no

 probative value with respect to any claim or defense asserted in this action. Defendants also object

 to this request on the grounds that it is vague and ambiguous, as it is unclear what Plaintiff means

 by “well within [his] right.” To the extent that the Request asks Defendants to admit or deny a

 legal conclusion, especially one irrelevant to the claims and defenses in this case, they decline to



                                                  19
Case 3:19-cv-00054-NKM-JCH Document 368-1 Filed 04/20/22 Page 21 of 44 Pageid#:
                                    4894



 do so. Defendants further object on the grounds that the document referenced does not support or

 reference the statement Plaintiff would like Defendants to admit.

        RESPONSE TO RFA NO. 164: Subject to and without waiving the foregoing objections,

 Defendants state that after making reasonable inquiry, the information that they know or can

 readily obtain is insufficient to enable them to admit or deny this Request.



 RFA No. 165:

        It was well within Mr. Bhattacharya’s right to tell Roxanne Bhattacharya to leave his

 residence on November 18, 2018. (Bates No. UVA00002777.)

        OBJECTION TO RFA NO. 165: Defendants object that this Request seeks irrelevant

 information outside the scope of discovery permitted by Fed. R. Civ. P. 26(b)(1), as whatever right

 Mr. Bhattacharya may have had to demand that his mother leave his residence has no probative

 value with respect to any claim or defense asserted in this action. Defendants also object to this

 request on the grounds that it is vague and ambiguous, as it is unclear what Plaintiff means by

 “well within [his] right.” To the extent that the Request asks Defendants to admit or deny a legal

 conclusion, especially one irrelevant to the claims and defenses in this case, they decline to do so.

 Defendants further object on the grounds that the document referenced does not support or

 reference the statement Plaintiff would like Defendants to admit.

        RESPONSE TO RFA NO. 165: Subject to and without waiving the foregoing objections,

 Defendants state that after making reasonable inquiry, the information that they know or can

 readily obtain is insufficient to enable them to admit or deny this Request.




                                                  20
Case 3:19-cv-00054-NKM-JCH Document 368-1 Filed 04/20/22 Page 22 of 44 Pageid#:
                                    4895



 RFA No. 166:

           It was well within Mr. Bhattacharya’s right to refuse Dean Densmore’s November 27, 2018

 psychiatric order. (Bates No. UVA00002777.)

           OBJECTION TO RFA NO. 166: Defendants object to this request on the grounds that

 it is vague and ambiguous. It is unclear what Plaintiff means by “psychiatric order,” which is

 undefined and susceptible to multiple interpretations. Defendants further object to the extent

 Plaintiff has deliberately used this vague or ambiguous term with the intent of mischaracterizing

 Dean Densmore’s communications with him. It is also unclear what Plaintiff means by “well

 within [his] right” and to the extent that the Request asks Defendants to admit or deny a legal

 conclusion, they decline to do so.

           RESPONSE TO RFA NO. 166: Subject to and without waiving the foregoing objections,

 Defendants deny that Dean Densmore made a psychiatric order and, thus, deny this request.

 Defendants admit that the University of Virginia School of Medicine’s Time and Attendance

 Policy states: “If a student misses more than two consecutive days due to illness, they must notify

 their college dean and the Office of Student Affairs (som-studentaffairs@virginia.edu) as well as

 obtain medical evaluation from the Department of Student Health or other licensed healthcare

 provider. . . . Clearance from Student Health is required before the student can resume educational

 activities.”    See UVA00009394. Plaintiff was suffering from a mental illness, and Counseling

 and Psychological Services is the appropriate unit within Student Health to clear Plaintiff so that

 he may resume educational activities. Plaintiff was free not to seek the required medical clearance

 if he chose not to return to class. In all other respects, however, this Request for Admission is

 denied.




                                                 21
Case 3:19-cv-00054-NKM-JCH Document 368-1 Filed 04/20/22 Page 23 of 44 Pageid#:
                                    4896




 RFA No. 167:

        It was well within Mr. Bhattacharya’s right to refuse Randolph Canterbury’s November

 27, 2018 psychiatric order. (Bates No. UVA00002777.)

        OBJECTION TO RFA NO. 167: Defendants object to this request on the grounds that

 it is vague and ambiguous. It is unclear what Plaintiff means by “psychiatric order,” which is

 undefined and susceptible to multiple interpretations. Defendants further object to the extent

 Plaintiff has deliberately used this vague or ambiguous term with the intent of mischaracterizing

 Dean Canterbury’s communications with him. It is also unclear what Plaintiff means by “well

 within [his] right” and to the extent that the Request asks Defendants to admit or deny a legal

 conclusion, they decline to do so.

        RESPONSE TO RFA NO. 167: Subject to and without waiving the foregoing objections,

 Defendants deny that Randolph Canterbury made a psychiatric order and, thus, deny this request.

 Defendants admit that the University of Virginia School of Medicine’s Time and Attendance

 Policy states: “If a student misses more than two consecutive days due to illness, they must notify

 their college dean and the Office of Student Affairs (som-studentaffairs@virginia.edu) as well as

 obtain medical evaluation from the Department of Student Health or other licensed healthcare

 provider. . . . Clearance from Student Health is required before the student can resume educational

 activities.” See UVA00009394. Plaintiff was suffering from a mental illness, and Counseling and

 Psychological Services is the appropriate unit within Student Health to clear Plaintiff so that he

 may resume educational activities. Plaintiff was free not to seek the required medical clearance if

 he chose not to return to class. In all other respects, however, this Request for Admission is denied.




                                                  22
Case 3:19-cv-00054-NKM-JCH Document 368-1 Filed 04/20/22 Page 24 of 44 Pageid#:
                                    4897




 RFA No. 168:

        It was well within Mr. Bhattacharya’s right to make an audio recording of the

 November 28, 2018 ASAC hearing.

        OBJECTION TO RFA NO. 168: Defendants object to this request on the grounds that

 it is vague and ambiguous. It is unclear what Plaintiff means by “well within [his] right” and to

 the extent that the Request asks Defendants to admit or deny a legal conclusion, especially one

 irrelevant to the claims and defenses in this case, they decline to do so.

        RESPONSE TO RFA NO. 168: Subject to and without waiving the foregoing objections,

 Defendants admit that at the time of November 28, 2018 ASAC meeting, such recordings were not

 prohibited. Defendants further admit that Plaintiff asked to record the meeting on November 28,

 2018, and ASAC members permitted him to do so, as demonstrated in the bodycam footage

 produced as UVA00008144. To the extent any further response is required, however, Defendants

 deny this Request for Admission in all other respects.



 RFA No. 169:

        It was well within Mr. Bhattacharya’s right to receive clarification from Angel Hsu as to

 the location and status of his property to which he was denied access during the period

 November 19-26, 2018.

        OBJECTION TO RFA NO. 169: Defendants object to this request on the grounds that

 it is vague and ambiguous. Defendants note that although this Request for Admission references

 a period in which he was supposedly denied access to unspecified property, he does not refer to

 any specific timeframe when he supposedly had the right to “receive clarification.” Plaintiff was



                                                  23
Case 3:19-cv-00054-NKM-JCH Document 368-1 Filed 04/20/22 Page 25 of 44 Pageid#:
                                    4898



 also subject to multiple protective orders obtained against him by Dr. Hsu, however, which covered

 various periods and which limited his right to contact her to request any “clarification.” It also is

 unclear what Plaintiff means by “well within [his] right” and to the extent that the Request asks

 Defendants to admit or deny a legal conclusion, especially one irrelevant to the claims and defenses

 in this case, they decline to do so.

         RESPONSE TO RFA NO. 169: Subject to and without waiving the foregoing objections,

 Defendants state that after making reasonable inquiry, the information that they know or can

 readily obtain is insufficient to enable them to admit or deny this Request.



 RFA No. 170:

         Angel Hsu did not tell Mr. Bhattacharya to stop contacting her during any of the phone

 calls that she answered from a Poplar Springs phone while Mr. Bhattacharya was at Poplar Springs

 until after she obtained the preliminary protective order on November 26, 2018.

         OBJECTION TO RFA NO. 170: Defendants object to this Request as a misuse of the

 tools of discovery as Plaintiff seeks to elicit admissions about facts that are obviously beyond the

 scope of Defendants’ knowledge. Defendants further object to this Request on the grounds that it

 is not relevant not relevant to any party’s claim or defense. Plaintiff’s sole remaining claim is one

 of First Amendment Retaliation. It is unclear how, even if true, the requested admission would

 make any fact of consequence to the determination of the action or any related claim or defense

 more or less likely.




                                                  24
Case 3:19-cv-00054-NKM-JCH Document 368-1 Filed 04/20/22 Page 26 of 44 Pageid#:
                                    4899



        RESPONSE TO RFA NO. 170: Subject to and without waiving the foregoing objections,

 Defendants state that after making reasonable inquiry, the information that they know or can

 readily obtain is insufficient to enable them to admit or deny this Request.



 RFA No. 171:

        Mr. Bhattacharya shared equal ownership of Taro between September 1, 2018 and 9:00

 a.m. on November 26, 2018.

        OBJECTION TO RFA NO. 171: Defendants object to this request on the grounds that

 it is not relevant to any party’s claim or defense. For the reasons stated in Defendants’ Motion for

 a Protective Order, (ECF No. 344), which are hereby incorporated by reference, Defendants object

 that even if they knew anything about Plaintiff’s alleged property interest in a dog named Taro—

 which they do not—this Request has no probative value with respect to any fact of consequence

 to the determination of this action, and is therefore outside the scope of Fed. R. Civ. P. 26(b)(1).

 To the extent that the Request asks Defendants to admit or deny a legal conclusion, especially one

 so irrelevant to the claims and defenses in this case, they decline to do so.

        RESPONSE TO RFA NO. 171: Subject to and without waiving the foregoing objections,

 Defendants state that after making reasonable inquiry, the information that they know or can

 readily obtain is insufficient to enable them to admit or deny this Request.



 RFA No. 172:

        Mr. Bhattacharya has, to this day, never agreed to waive his property stake in Taro.

        OBJECTION TO RFA NO. 172: Defendants object to this request on the grounds that

 it is not relevant to any party’s claim or defense. Plaintiff’s sole remaining claim is one of First



                                                  25
Case 3:19-cv-00054-NKM-JCH Document 368-1 Filed 04/20/22 Page 27 of 44 Pageid#:
                                    4900



 Amendment Retaliation. For the reasons stated in Defendants’ Motion for a Protective Order,

 (ECF No. 344), which are hereby incorporated by reference, Defendants object that even if they

 knew anything about Plaintiff’s alleged property interest in a dog named Taro—which they do

 not—this Request has no probative value with respect to any fact of consequence to the

 determination of this action, and is therefore outside the scope of Fed. R. Civ. P. 26(b)(1). To the

 extent that the Request asks Defendants to admit or deny a legal conclusion, especially one so

 irrelevant to the claims and defenses in this case, they decline to do so.

        RESPONSE TO RFA NO. 172: Subject to and without waiving the foregoing objections,

 Defendants state that after making reasonable inquiry, the information that they know or can

 readily obtain is insufficient to enable them to admit or deny this Request.



 RFA No. 173:

        The forced hospitalizations of Mr. Bhattacharya from November 14-16, 2018 and

 November 19-26, 2018 led to “interference with [Mr. Bhattacharya’s] property.”

        OBJECTION TO RFA NO. 173:                   Defendants object that the undefined phrase

 “interference with [Mr. Bhattacharya’s] property” is so vague and ambiguous that they are unable

 to answer. Defendants initially note that the phrase undefined phrase “forced hospitalizations” is

 not only vague and ambiguous but also pejorative and inaccurate. More importantly, this Request

 for Admission does not specify what “property” Plaintiff intended to reference or describe what

 “interference” supposedly occurred. For all the reasons stated in Defendants’ Motion for a

 Protective Order (ECF No. 344), which are incorporated here by reference, Defendants further

 object that even if they knew anything about Kieran’s ownership or possessory interests in any

 undefined property—which they do not—this Request has no probative value with respect to any



                                                  26
Case 3:19-cv-00054-NKM-JCH Document 368-1 Filed 04/20/22 Page 28 of 44 Pageid#:
                                    4901



 fact of consequence to the determination of this action, and is therefore outside the scope of Fed.

 R. Civ. P. 26(b)(1). To the extent that the Request asks Defendants to admit or deny a legal

 conclusion, especially one so irrelevant to the claims and defenses in this case, they decline to do

 so.

          RESPONSE TO RFA NO. 173: Subject to and without waiving the foregoing objections,

 Defendants state that after making reasonable inquiry, the information that they know or can

 readily obtain is insufficient to enable them to admit or deny whatever it is this Request supposedly

 means.



 RFA No. 174:

          The University of Virginia’s “Title IX Prohibited Conduct – Stalking” states as follows:

                 “Stalking is conduct on the basis of sex defined as engaging in a
                 course of conduct directed at a specific person (e.g., the
                 Complainant) that would cause a reasonable person to (A) fear for
                 their safety or the safety of others or (B) suffer substantial
                 emotional distress.

                 “Course of conduct” means two or more acts, including but not
                 limited to acts in which a person directly, indirectly, or through
                 third parties, by any actions, method, device, or means, follows,
                 monitors, observes, surveils, threatens, or communicates to or
                 about another person, or interferes with another person’s property.

                 “Substantial emotional distress” means significant mental suffering
                 or anguish that may but does not necessarily require medical or
                 other professional treatment or counseling.

                 Stalking includes “cyber stalking,” a particular form of stalking in
                 which a person uses electronic media, such as the internet, social
                 networks, blogs, cell phones, texts, or other similar devices or
                 forms of contact.”

          RESPONSE TO RFA NO. 174: Per Plaintiff’s Revised Fourth Discovery Requests,

 transmitted via email on April 11, 2022, Defendants understand that this Request for Admission



                                                  27
Case 3:19-cv-00054-NKM-JCH Document 368-1 Filed 04/20/22 Page 29 of 44 Pageid#:
                                    4902



 is withdrawn. As such, Defendants will not be providing a response to this Request for Admission.

 This shall not constitute an admission under Rule 36(a)(3).



 RFA No. 175:

        No employee of UVA CAPS, UVA Medical Center, Poplar Springs, or the University of

 Alabama, or Charles Moseley has ever reported in writing that Mr. Bhattacharya informed him or

 her that Mr. Bhattacharya was experiencing auditory hallucinations.

        OBJECTION TO RFA NO. 175: Defendants object to this Request on the grounds that

 it is impermissibly compound as it asks whether any employee of five separate healthcare

 providers has ever reported that Plaintiff had informed them that he was experiencing auditory

 hallucinations, including three providers not associated in any way with the University of Virginia

 or its School of Medicine. Further, Defendants object that they cannot possibly be expected to

 know whether every single one of an unknown number of employees from any of the five different

 healthcare providers across two different states never wrote in their notes (whether produced in

 this litigation or not) that Mr. Bhattacharya had informed them that he was experiencing auditory

 hallucinations.

        RESPONSE TO RFA NO. 175: Subject to and without waiving the foregoing objections,

 Defendants deny this Request.



 RFA No. 176:

        No employee of UVA CAPS, UVA Medical Center, Poplar Springs, or the University of

 Alabama, or Charles Moseley has reported in writing that Mr. Bhattacharya informed him or her

 that Mr. Bhattacharya was experiencing visual hallucinations.



                                                 28
Case 3:19-cv-00054-NKM-JCH Document 368-1 Filed 04/20/22 Page 30 of 44 Pageid#:
                                    4903



        OBJECTION TO RFA NO. 176: Defendants object to this Request on the grounds that

 it is impermissibly compound as it asks whether any employee of five separate healthcare

 providers has ever reported that Plaintiff had informed them that he was experiencing visual

 hallucinations, including three providers not associated in any way with the University of Virginia

 or its School of Medicine. Further, Defendants object that they cannot possibly be expected to

 know whether every single one of an unknown number of employees from any of the five different

 healthcare providers across two different states never wrote in their notes (whether produced in

 this litigation or not) that Mr. Bhattacharya had informed them that he was experiencing visual

 hallucinations.

        RESPONSE TO RFA NO. 176: Subject to and without waiving the foregoing objections,

 and for all the reasons stated in Defendants’ Motion for Protective Order (ECF No. 344),

 Defendants state that after making reasonable inquiry, the information that they know or can

 readily obtain is insufficient to enable them to admit or deny this Request.



 RFA No. 177:

        No employee of UVA CAPS, UVA Medical Center, Poplar Springs, or the University of

 Alabama, or Charles Moseley has reported in writing that Mr. Bhattacharya informed him or her

 that Mr. Bhattacharya was experiencing suicidal ideations.

        OBJECTION TO RFA NO. 177: Defendants object to this Request on the grounds that

 it is impermissibly compound as it asks whether any employee of five separate healthcare

 providers has ever reported that Plaintiff was experiencing suicidal ideation, including three

 providers not associated in any way with the University of Virginia or its School of Medicine.

 Further, Defendants object that they cannot possibly be expected to know whether every single



                                                 29
Case 3:19-cv-00054-NKM-JCH Document 368-1 Filed 04/20/22 Page 31 of 44 Pageid#:
                                    4904



 one of an unknown number of employees from any of the five different healthcare providers across

 two different states never wrote in their notes (whether produced in this litigation or not) that Mr.

 Bhattacharya was experiencing suicidal ideation.

        RESPONSE TO RFA NO. 177: Subject to and without waiving the foregoing objections,

 and for all the reasons stated in Defendants’ Motion for Protective Order (ECF No. 344),

 Defendants state that after making reasonable inquiry, the information that they know or can

 readily obtain is insufficient to enable them to admit or deny this Request.



 RFA No. 178:

        No employee of UVA CAPS, UVA Medical Center, Poplar Springs, or the University of

 Alabama, or Charles Moseley has reported in writing that Mr. Bhattacharya informed him or her

 that Mr. Bhattacharya was experiencing homicidal ideations.

        OBJECTION TO RFA NO. 178: Defendants object to this Request on the grounds that

 it is impermissibly compound as it asks whether any employee of five separate healthcare

 providers has ever reported that Plaintiff was experiencing homicidal ideation, including three

 providers not associated in any way with the University of Virginia or its School of Medicine.

 Further, Defendants object that they cannot possibly be expected to know whether every single

 one of an unknown number of employees from any of the five different healthcare providers across

 two different states never wrote in their notes (whether produced in this litigation or not) that Mr.

 Bhattacharya was experiencing homicidal ideation.

        RESPONSE TO RFA NO. 178: Subject to and without waiving the foregoing objections,

 and for all the reasons stated in Defendants’ Motion for Protective Order (ECF No. 344),




                                                  30
Case 3:19-cv-00054-NKM-JCH Document 368-1 Filed 04/20/22 Page 32 of 44 Pageid#:
                                    4905



 Defendants state that after making reasonable inquiry, the information that they know or can

 readily obtain is insufficient to enable them to admit or deny this Request.



 RFA No. 179:

        On November 20, 2018, Nicole Ruzek reported to Poplar Springs Hospital that Mr.

 Bhattacharya “has not made physical threats but threatens litigation against [Mr. Bhattacharya’s]

 Dean.” (Bates No. PSH00003661.)

        RESPONSE TO RFA NO. 179: Defendants respond that after making reasonable

 inquiry, they lack sufficient information they know or can readily obtain is insufficient to allow

 them to admit or deny this Request. In further response, Defendants state that Nicole Ruzek

 remembers calling Poplar Springs Hospital but does not remember making that specific assertion.

 Defendants further state that Nicole Ruzek acted on information that she had received in good faith

 during her call to Poplar Springs on November 21, 2018, and that Poplar Springs may have

 misunderstood or misinterpreted what she said.



 RFA No. 180:

        Nicole Ruzek’s assertion to Poplar Springs hospital that “[Angel Hsu’s] protective order

 [would] be finalized on [November 23, 2018]” was false. (Bates No. PSH00003662.)

        RESPONSE TO RFA NO. 180: Defendants respond that after making reasonable

 inquiry, they lack sufficient information they know or can readily obtain is insufficient to allow

 them to admit or deny this Request. In further response, Defendants state that Nicole Ruzek

 remembers calling Poplar Springs Hospital but does not remember making that specific assertion.

 Defendants further state that Nicole Ruzek acted on information that she had received in good faith



                                                  31
Case 3:19-cv-00054-NKM-JCH Document 368-1 Filed 04/20/22 Page 33 of 44 Pageid#:
                                    4906



 during her call to Poplar Springs on November 21, 2018, and that Poplar Springs may have

 misunderstood or misinterpreted what she said.



 RFA No. 181:

        Nicole Ruzek contacted Poplar Springs at 12:35 p.m. on November 21, 2018 with the

 intention of influencing the outcome of the 2:30 p.m. November 21, 2018 involuntary commitment

 hearing in a manner unfavorable to Mr. Bhattacharya. (Bates No. PSH00003662, UVA00009372.)

        RESPONSE TO RFA NO. 181: Defendants admit that Nicole Ruzek contacted Poplar

 Springs Hospital; however, they expressly deny that Nicole Ruzek intended to influence the

 outcome of Plaintiff’s November 21, 2018 involuntary commitment hearing. To the extent any

 further response is required, Defendants deny this Request in all other respects.



 RFA No. 182:

        David Brown’s “Chief Complaint” at 1:10 p.m. on November 19, 2018 that “[Roxanne

 Bhattacharya] initiated [an Emergency Custody Order] after [Angel Hsu] file a protective order”

 against Mr. Bhattacharya is false. (Bates No. UVA HS00003702.)

        OBJECTION TO RFA NO. 182: Defendants object that the term “false,” as used in this

 Request, is vague or ambiguous. Defendants further object to the extent Plaintiff intended to

 leverage that vagueness or ambiguity to mischaracterize the referenced document. Defendants

 additionally object that this Request is irrelevant, as the accuracy or specificity of a Registered

 Nurse’s note in Plaintiff’s Emergency Department records is not probative of any fact of

 consequence to the determination of any claim or defense in this action.




                                                  32
Case 3:19-cv-00054-NKM-JCH Document 368-1 Filed 04/20/22 Page 34 of 44 Pageid#:
                                    4907



        RESPONSE TO RFA NO. 182:                   Defendants state in response that Roxanne

 Bhattacharya’s Petition for an Emergency Custody Order with respect to Plaintiff, KB-006268-72,

 speaks for itself, as does Dr. Hsu’s Protective Order, UVA00002652-54. Defendants admit that

 Roxanne Bhattacharya’s Petition for an Emergency Custody Order was filed before Angel Hsu’s

 Petition for a Protective Order; however, to the extent any further response is required, Defendants

 deny this Request in all other respects.



 RFA No. 183:

        Haley Bolton’s “Chief Complaint” at 1:14 p.m. on November 19, 2018 that “[Roxanne

 Bhattacharya] initiated [an Emergency Custody Order] after [Angel Hsu] file a protective order”

 against Mr. Bhattacharya is false. (Bates No. UVA HS00003702.)

        RESPONSE TO RFA NO. 183: Per Plaintiff’s Revised Fourth Discovery Requests,

 transmitted via email on April 11, 2022, Defendants understand that this Request for Admission

 is withdrawn. As such, Defendants will not be providing a response to this Request for Admission.

 This shall not constitute an admission under Rule 36(a)(3).



 RFA No. 184:

        Margaret Sande’s “Chief Complaint” at 1:23 p.m. on November 19, 2018 that “[Roxanne

 Bhattacharya] initiated [an Emergency Custody Order] after [Angel Hsu] file a protective order”

 against Mr. Bhattacharya is false. (Bates No. UVA HS00003702.)

        RESPONSE TO RFA NO. 184: Per Plaintiff’s Revised Fourth Discovery Requests,

 transmitted via email on April 11, 2022, Defendants understand that this Request for Admission




                                                 33
Case 3:19-cv-00054-NKM-JCH Document 368-1 Filed 04/20/22 Page 35 of 44 Pageid#:
                                    4908



 is withdrawn. As such, Defendants will not be providing a response to this Request for Admission.

 This shall not constitute an admission under Rule 36(a)(3).



 RFA No. 185:

        Mr. Bhattacharya was not “copying large volumes of a psychiatry textbook” on

 November 18, 2018. (Bates No. UVA HS00003705.)

        OBJECTION TO RFA NO. 185: Defendants object to this Request as a misuse of the

 tools of discovery as Plaintiff seeks to elicit admissions about facts that are obviously beyond the

 scope of Defendants’ knowledge. Defendants further object to this Request on the grounds that it

 seeks irrelevant information, as Plaintiff’s photocopying habits is not probative of any fact of

 consequence to the determination of any claim or defense at issue in this litigation.

        RESPONSE TO RFA NO. 185: Subject to and without waiving the foregoing objections,

 and for all the reasons stated in Defendants’ Motion for Protective Order (ECF No. 344),

 Defendants state that after making reasonable inquiry, the information that they know or can

 readily obtain is insufficient to enable them to admit or deny this Request.



 RFA No. 186:

        Margaret Sande had access to the entire written petition from Roxanne Bhattacharya and

 relied on its contents to create her “ED Provider Notes.” (Bates Nos. UVA HS00003704-05.)

        OBJECTION TO RFA NO. 186: Defendants object to this Request as a misuse of the

 tools of discovery as Plaintiff seeks to elicit admissions about facts that are obviously beyond the

 scope of Defendants’ knowledge. Defendants cannot talk to Dr. Sande about Plaintiff’s treatment

 under Va. Code § 8.01-399. Defendants further object to this Request on the grounds that it seeks



                                                 34
Case 3:19-cv-00054-NKM-JCH Document 368-1 Filed 04/20/22 Page 36 of 44 Pageid#:
                                    4909



 irrelevant information, as whether a specific healthcare provider had access to a particular

 document when writing her notes is not probative of any fact of consequence to the determination

 of any claim or defense at issue in this litigation.

           RESPONSE TO RFA NO. 186: Subject to and without waiving the foregoing objections,

 and for all the reasons stated in Defendants’ Motion for Protective Order (ECF No. 344),

 Defendants state that after making reasonable inquiry, the information that they know or can

 readily obtain is insufficient to enable them to admit or deny this Request.



 RFA No. 187:

           Margaret Sande reported that Mr. Bhattacharya “[did] not know why he need to be” at the

 UVA Medical Center ED on November 19, 2018. (Bates No. UVA HS00003705.)

           OBJECTION TO RFA NO. 187: Defendants object to this Request as a misuse of the

 tools of discovery as Plaintiff seeks to elicit admissions about facts that are obviously beyond the

 scope of Defendants’ knowledge. Defendants cannot talk to Dr. Sande about Plaintiff’s treatment

 under Va. Code § 8.01-399. Defendants further object to this Request as the document speaks for

 itself.

           RESPONSE TO RFA NO. 187: Subject to and without waiving the foregoing objections,

 and for all the reasons stated in Defendants’ Motion for Protective Order (ECF No. 344),

 Defendants state that after making reasonable inquiry, the information that they know or can

 readily obtain is insufficient to enable them to admit or deny this Request.




                                                   35
Case 3:19-cv-00054-NKM-JCH Document 368-1 Filed 04/20/22 Page 37 of 44 Pageid#:
                                    4910




 RFA No. 188:

        Margaret Sande’s report of Roxanne Bhattacharya’s allegation that Mr. Bhattacharya was

 “not eating” is false. (Bates No. UVA HS00003705.)

        OBJECTION TO RFA NO. 188: Defendants object that the term “false,” as used in this

 Request, is vague or ambiguous. Defendants further object to the extent Plaintiff intended to

 leverage that vagueness or ambiguity to mischaracterize the referenced document. Defendants

 additionally object that this Request is vague of ambiguous, as it is unclear whether Plaintiff means

 that Margaret Sande was “false” in reporting Roxanne Bhattacharya’s so-called allegation, or that

 Roxanne Bhattacharya was “false” in asserting that so-called allegation. Defendants further object

 to this Request as a misuse of the tools of discovery as Plaintiff seeks to elicit admissions about

 facts that are obviously beyond the scope of Defendants’ knowledge. Defendants cannot talk to

 Dr. Sande about Plaintiff’s treatment under Va. Code § 8.01-399, and Defendants cannot know

 what Roxanne Bhattacharya knew about Plaintiff’s eating habits at the time.

        RESPONSE TO RFA NO. 188: Subject to and without waiving the foregoing objections,

 and for all the reasons stated in Defendants’ Motion for Protective Order (ECF No. 344),

 Defendants state that after making reasonable inquiry, the information that they know or can

 readily obtain is insufficient to enable them to admit or deny this Request.



 RFA No. 189:

        Neither Roxanne Bhattacharya nor Angel Hsu had any personal knowledge as to whether

 or not Mr. Bhattacharya was “eating” between November 16-19, 2018.                (Bates No. UVA

 HS00003705.)



                                                  36
Case 3:19-cv-00054-NKM-JCH Document 368-1 Filed 04/20/22 Page 38 of 44 Pageid#:
                                    4911



        OBJECTION TO RFA NO. 189: Although Defendants very much doubt that the “fact”

 asserted by this Request is true, Defendants object to this Request as a misuse of the tools of

 discovery as Plaintiff seeks to elicit admissions about facts that are obviously beyond the scope of

 Defendants’ knowledge.

        RESPONSE TO RFA NO. 189: Subject to and without waiving the foregoing objections,

 and for all the reasons stated in Defendants’ Motion for Protective Order (ECF No. 344),

 Defendants state that after making reasonable inquiry, the information that they know or can

 readily obtain is insufficient to enable them to admit or deny this Request.



 RFA No. 190:

        Margaret Sande’s report of Roxanne Bhattacharya’s allegation that Mr. Bhattacharya was

 “not sleeping” is false. (Bates No. UVA HS00003705.)

        OBJECTION TO RFA NO. 190: Defendants object that the term “false,” as used in this

 Request, is vague or ambiguous. Defendants further object to the extent Plaintiff intended to

 leverage that vagueness or ambiguity to mischaracterize the referenced document. Defendants

 additionally object that this Request is vague of ambiguous, as it is unclear whether Plaintiff means

 that Margaret Sande was “false” in reporting Roxanne Bhattacharya’s so-called allegation, or that

 Roxanne Bhattacharya was “false” in asserting that so-called allegation. Defendants further object

 to this Request as a misuse of the tools of discovery as Plaintiff seeks to elicit admissions about

 facts that are obviously beyond the scope of Defendants’ knowledge. Defendants cannot talk to

 Dr. Sande about Plaintiff’s treatment under Va. Code § 8.01-399, and Defendants cannot know

 what Roxanne Bhattacharya knew about Plaintiff’s sleeping habits at the time.




                                                  37
Case 3:19-cv-00054-NKM-JCH Document 368-1 Filed 04/20/22 Page 39 of 44 Pageid#:
                                    4912



        RESPONSE TO RFA NO. 190: Subject to and without waiving the foregoing objections,

 and for all the reasons stated in Defendants’ Motion for Protective Order (ECF No. 344),

 Defendants state that after making reasonable inquiry, the information that they know or can

 readily obtain is insufficient to enable them to admit or deny this Request.



 RFA No. 191:

        Neither Roxanne Bhattacharya nor Angel Hsu had any personal knowledge as to whether

 or not Mr. Bhattacharya was “sleeping” between November 16-19, 2018. (Bates No. UVA

 HS00003705.)

        OBJECTION TO RFA NO. 191: Although Defendants very much doubt that the “fact”

 asserted by this Request is true, Defendants object to this Request as a misuse of the tools of

 discovery as Plaintiff seeks to elicit admissions about facts that are obviously beyond the scope of

 Defendants’ knowledge.

        RESPONSE TO RFA NO. 191: Subject to and without waiving the foregoing objections,

 and for all the reasons stated in Defendants’ Motion for Protective Order (ECF No. 344),

 Defendants state that after making reasonable inquiry, the information that they know or can

 readily obtain is insufficient to enable them to admit or deny this Request.



 RFA No. 192:

        Mr. Bhattacharya did not “leave food unattended on the stove” between November 16-19,

 2018. (Bates No. UVA HS00003705.)

        OBJECTION TO RFA NO. 192: Defendants object to this Request as a misuse of the

 tools of discovery as Plaintiff seeks to elicit admissions about facts that are obviously beyond the



                                                 38
Case 3:19-cv-00054-NKM-JCH Document 368-1 Filed 04/20/22 Page 40 of 44 Pageid#:
                                    4913



 scope of Defendants’ knowledge. For the reasons stated more fully in Defendants’ Motion for a

 Protective Order (ECF No. 344), which are hereby incorporated by reference into these objections,

 Defendants could not possibly be expected to know whether defendant had left food unattended

 on a stove in his private, off-campus residence. This request is also unnecessarily cumulative and

 duplicative of Request for Admission No. 155.

        RESPONSE TO RFA NO. 192: Subject to and without waiving the foregoing objections,

 Defendants state that after making reasonable inquiry, the information that they know or can

 readily obtain is insufficient to enable them to admit or deny this Request.



 RFA No. 193:

        Mr. Bhattacharya did not “make investment decisions that [were] out of character for him”

 in November 2018. (Bates No. UVA HS00003705.)

        OBJECTION TO RFA NO. 193: Defendants object to this Request as a misuse of the

 tools of discovery as Plaintiff seeks to elicit admissions about facts that are obviously beyond the

 scope of Defendants’ knowledge. For the reasons stated more fully in Defendants’ Motion for a

 Protective Order (ECF No. 344), which are hereby incorporated by reference into these objections,

 Defendants could not possibly be expected to know whether any particular investment decision

 were out of character for him.

        RESPONSE TO RFA NO. 193: Subject to and without waiving the foregoing objections,

 Defendants state that after making reasonable inquiry, the information that they know or can

 readily obtain is insufficient to enable them to admit or deny this Request.




                                                 39
Case 3:19-cv-00054-NKM-JCH Document 368-1 Filed 04/20/22 Page 41 of 44 Pageid#:
                                    4914




 RFA No. 194:

           Winifred Wolfe’s “Violence Risk Assessment” of Mr. Bhattacharya of “moderate”

 provides no true, testable, and factual support whatsoever other than describing Mr. Bhattacharya

 as a “[m]ale.” (Bates No. UVA HS00003747.)

           OBJECTION TO RFA NO. 194: Defendants object that the phrase “provides no true,

 testable, and factual support whatsoever” is vague and ambiguous. Defendants further object to

 the extent Plaintiff intended to leverage this vagueness in order to mischaracterize the referenced

 document, and likewise object to Plaintiff’s attempt to take statements and assertions made for the

 purpose of rendering care to him out of context. The document speaks for itself.

           RESPONSE TO RFA NO. 194: Denied.



 RFA No. 195:

           Winifred Wolfe’s “Violence Risk Assessment” of Mr. Bhattacharya of “moderate” falsely

 asserts that Mr. Bhattacharya was “living alone.” (Bates No. UVA HS00003747.)

           OBJECTION TO RFA NO. 195: Defendants object that as used in this Request for

 Admission, the term “falsely” is vague or ambiguous. Defendants further object to the extent

 Plaintiff intended to leverage that vagueness or ambiguity in an attempt to mischaracterize the

 document. Defendants object to this Request as Plaintiff’s attempt to take statements and

 assertions made for the purpose of rendering care to him out of context. The document speaks for

 itself.




                                                 40
Case 3:19-cv-00054-NKM-JCH Document 368-1 Filed 04/20/22 Page 42 of 44 Pageid#:
                                    4915



        RESPONSE TO RFA NO. 195: Defendants state that after making reasonable inquiry,

 the information that they know or can readily obtain is insufficient to enable them to admit or deny

 this Request.



 RFA No. 196:

        Winifred Wolfe would have had no way of personally observing and diagnosing someone

 with “current florid mania” if she was “[Unable To Assess] as [Mr. Bhattacharya] refused

 examination.” (Bates No. UVA HS00003743.)

        RESPONSE TO RFA NO. 196: Per Plaintiff’s Revised Fourth Discovery Requests,

 transmitted via email on April 11, 2022, Defendants understand that this Request for Admission

 is withdrawn. As such, Defendants will not be providing a response to this Request for Admission.

 This shall not constitute an admission under Rule 36(a)(3).




                                                 41
Case 3:19-cv-00054-NKM-JCH Document 368-1 Filed 04/20/22 Page 43 of 44 Pageid#:
                                    4916



 Dated: April 18, 2022

 Respectfully submitted,

 MCGUIREWOODS LLP

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                                                1
Case 3:19-cv-00054-NKM-JCH Document 368-1 Filed 04/20/22 Page 44 of 44 Pageid#:
                                    4917



                                 CERTIFICATE OF SERVICE

        I hereby certify that on this April 18, 2022, the foregoing document was sent via

 electronic mail only to the following:

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                                          /s/ Farnaz F. Thompson
                                          Farnaz F. Thompson




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